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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)


                                      CERTIFICATE OF SERVICE

         I hereby certify that on the 14th day of February, 2024, I caused to be filed with the Court

electronically, and I caused to be served a true and correct copy of the Fourth Monthly Application

of Morris James LLP, as Delaware Counsel to the Official Committee of Equity Security Holders,

for Allowance of Compensation and Reimbursement of Expenses for the Period From December

1, 2023 through December 31, 2023 upon the parties that are registered to receive notice via the

Court’s CM/ECF notification system and an additional service was competed via electronic mail

or first class mail on the parties listed on the attached service list.

                                                               /s/ Eric J. Monzo
                                                               Eric J. Monzo (DE Bar No. 5214)




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.


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                                          Service List

 Adam Kroll                                        Benjamin Hackman, Esq.
 Lordstown Motors Corporation                      Office of The United States Trustee
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 Farmington Hills, MI 48331                        844 King Street, Suite 2207
                                                   Wilmington, DE 19801
 Debtors                                           E-mail: Benjamin.a.hackman@usdoj.gov

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 and

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 Counsel to the Debtors




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